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   5
       Attorneys for Plaintiffs-Relators
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   7
   8                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   9
  10     UNITED STATES OF AMERICA
         ex rel. IONM LLC, a Delaware               Case No. 2:18-cv-08311-WLH (AS)
  11     corporation and ex rel. JUSTIN
         CHEONGSIATMOY, M.D.; STATE                  NOTICE OF RELEASE OF
  12     OF CALIFORNIA ex rel. IONM                  CIVIL MINUTES OF ALL
         LLC, a Delaware corporation and ex          SETTLEMENT
  13     rel. JUSTIN CHEONGSIATMOY,                  CONFERENCE(S) HELD
         M.D.; LOS ANGELES COUNTY ex                 BEFORE CHIEF MAGISTRATE
  14     rel. IONM LLC, a Delaware                   JUDGE KAREN STEVENSON;
         corporation and ex rel. JUSTIN              NO COUNSEL PROVIDED
  15     CHEONGSIATMOY, M.D.; and                    ATTORNEY CHANG WITH ALL
         JUSTIN CHEONGSIATMOY,                       CASE CORRESPONDENCES
  16     M.D., in his individual capacity,           WITH THE COURT FOR
                                                     WHICH ATTORNEY CHANG
  17                   Plaintiffs,                   WAS NOT INCLUDED
  18            v.
  19     UNIVERSITY OF SOUTHERN
         CALIFORNIA, a California
  20     corporation,
  21     and
  22     USC CARE MEDICAL GROUP,
         INC., a California corporation,
  23                   Defendants.
  24           PLEASE TAKE NOTICE of the pending request to the Court for the release
  25   of, on the public docket, the civil minutes of any and all Settlement Conferences held
  26
       before Chief Magistrate Judge Karen Stevenson in this case (see attached Exhibit A).
  27
               As the case docket shows, Defendants violated Judge Hsu’s Court Order to file
  28
       a Report “within seven (7) days after the settlement conference.” If Defendants
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   1
       participated in a Settlement Conference held before Chief Magistrate Judge Karen

   2   Stevenson on October 13, 2023, per Judge Hsu’s Court Order filed at Dkt. 234,

   3   Defendants should have filed on the case docket the court ordered Report “within

   4   seven (7) days after the settlement conference,” no later than October 20, 2023. See

   5   Dkt. 269 at Page 15 which shows the multiple attempts Attorney Chang made in

   6   requesting Defendants comply with Judge Hsu’s Court Order filed at Dkt. 234.

   7         The case docket shows that Judge Hsu reviewed the case docket five (5) days

   8   after Defendants failed to comply Judge Hsu’s Court Order. Indeed, Judge Hsu filed

   9   a ruling on the case docket on October 25, 2023 (Dkt. 271), yet Judge Hsu did not

  10   take any action against Defendants for violating Judge Hsu’s Court Order (Dkt. 234)

  11   even though Judge Hsu should have known at that point that Defendants had not

  12   complied with Judge Hsu’s Court Order.

  13         The case docket shows that Judge Hsu reviewed the case docket again seven

  14   (7) days after Defendants failed to comply Judge Hsu’s Court Order. Indeed, Judge

  15   Hsu issued filed a ruling on the case docket on October 27, 2023 (Dkt. 272), yet Judge

  16   Hsu did not take any action against Defendants for violating Judge Hsu’s Court Order

  17   (Dkt. 234) even though Judge Hsu should have known at that point that Defendants
  18   had not complied with Judge Hsu’s Court Order.
  19         The case docket further shows that Judge Hsu did not excuse Defendants from
  20   complying with Judge Hsu’s Court Order filed at Dkt. 234. If Defendants had
  21   participated in any Settlement Conference(s) before Chief Magistrate Judge Karen
  22   Stevenson, Defendants should have filed the Report(s) which Judge Hsu ordered to
  23   be filed “within seven (7) days after the settlement conference[s].”
  24         Attorney Chang has never waived her right as counsel to be present for any and
  25   all court appearance(s) and/or settlement conference(s) in this case. Attorney Chang
  26   has never waived her right to be included in all case correspondence. Any court
  27   appearance(s), settlement conference(s), and case correspondence for which Attorney
  28   Chang was not included has prevented Attorney Chang the opportunity fully represent
                                                 2
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   1
       her client and this may have changed the course of this case.

   2         No counsel (including but not limited to the law firm of Paul Hastings who

   3   filed for Court Order to Withdraw as Counsel on January 31, 2024 (Dkt. 284)) has

   4   responded to Attorney Chang’s request to email Attorney Chang by February 2, 2024

   5   with all true and correct case correspondence with the Court for which Attorney

   6   Chang was not included. See Dkt. 289.

   7
       Dated: February 4, 2024
   8
                                                   /s/ Alice Chang
   9                                         Alice Chang, Attorneys for Plaintiff-Relators
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                        Exhibit A
    Case 2:18-cv-08311-WLH-AS Document 291 Filed 02/04/24 Page 5 of 6 Page ID #:10082
From: Alice Chang JDMBA <alicechangjdmba@gmail.com>
Date: Sun, Feb 4, 2024 at 10:49 AM
Subject: RESPONSE REQUESTED by End of Day 2/5/2024: Release of Civil Minutes of ALL Settlement Conference(s)
with Chief Magistrate Judge Karen Stevenson for Case 2:18-cv-08311-WLH-AS United States of America et al v.
University of Southern California
To: <KS_Chambers@cacd.uscourts.gov>
Cc: Alice Chang JDMBA <alicechangjdmba@gmail.com>, Mark Hardiman <mhardiman@nelsonhardiman.com>, Paul
Cane <paulcane@paulhastings.com>, <Susan.Gillin@oig.hhs.gov>, Morris, Tom (CIV) <A.Thomas.Morris@usdoj.gov>,
martin.estrada_usdoj.gov <Martin.Estrada@usdoj.gov>, Kortum, Frank (USACAC) <frank.kortum@usdoj.gov>, Marc
Beaart <mbeaart@da.lacounty.gov>, Brian Frankel <Brian.Frankel@doj.ca.gov>, John Fisher <John.Fisher@doj.ca.gov>,
Spencer-Mork, Nathaniel <Nathaniel.Spencer-Mork@insurance.ca.gov>, Neumeister, Mitch
<mitch.neumeister@insurance.ca.gov>

Dear Chambers of Chief Magistrate Judge Karen Stevenson:

I write to request that, no later than end of day on February 5, 2024, the Court release all Civil Minutes for any and all
Settlement Conferences held before Chief Magistrate Judge Karen Stevenson for Case 2:18-cv-08311-WLH-AS United
States of America et al v. University of Southern California.

On October 16, 2023 at 10:48AM, the Court served me through CM/ECF stating “MINUTES OF Settlement Conference
held before Magistrate Judge Karen L. Stevenson. The settlement conference was conducted off the record and a
settlement was not reached. (see document for further details) Court Recorder: CS 10/13/23. (hr).” The Court labeled the
Document Number for the Settlement Conference held before Magistrate Judge Karen L. Stevenson as “Document
Number 265.” See Dkt. 267, Exhibit B at Page 18.

Separately, one minute later, on October 16, 2023 at 10:49AM, the Court served me through CM/ECF stating “MINUTES
OF Settlement Conference held before Magistrate Judge Alka Sagar. The settlement conference was conducted off the
record and a settlement was not reached. (see document for further details) Court Recorder: CS 10/13/23. (hr) Modified
on 10/16/2023 (hr).” The Court also labeled the Document Number for the Settlement Conference held before Magistrate
Judge Alka Sagar as “Document Number 265.” See Dkt. 267, Exhibit C at Page 20.

The only link the Court ever served me in connection with Settlement Conference(s) before Chief Magistrate Judge Karen
Stevenson (see Dkt. 267, Exhibit B, Page 18) linked to what the Court released on the public docket at Dkt. 265, which
only references one Settlement Conference with Magistrate Judge Sagar.

The public docket (Dkt. 265) only reflects the CIVIL MINUTES for a Settlement Conference taking place on October 13,
2023 under Magistrate Judge Alka Sagar.

The Court has never posted on the public docket the Civil Minutes of any Settlement Conference(s) in this case held
before Chief Magistrate Judge Karen L. Stevenson for which there should be a separate CM/ECF filing Docket Number
for each Settlement Conference with a separate Docket Number containing the Date(s) of the Settlement Conference(s),
names of all attorneys present, and names of all attendees present.

As counsel in this case (2:18-cv-08311-WLH-AS), I respectfully request that, no later than end of day, February 5,
2024, the Court post on the public case docket the CIVIL MINUTES of any and all Settlement Conference(s) with
Chief Magistrate Judge Karen Stevenson in this case, including the Date(s) of the Settlement Conference(s),
names of all attorneys present, and names of all attendees present.

Thank you,
Alice Chang
Counsel for Plaintiff-Relators
cc:
Mark Hardiman, Nelson Hardiman law firm
Paul Cane Jr., Paul Hastings law firm
Susan Gillin, Branch Chief for United States OIG HHS
Tom Morris, Senior Trial Counsel, U.S. Department of Justice
Martin Estrada, United States Attorney, Central District of California
Frank D. Kortum, Assistant United States Attorney
Marc Beaart, Bureau Director, Los Angeles County Fraud & Corruption
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Brian Frankel, Supervising Deputy Attorney General
John Fisher, Deputy Attorney General
Nathaniel Spencer-Mork, Assistant Chief Counsel, CDI
Mitchell Neumeister, False Claims Attorney, CDI
